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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


KRIS WORKMAN,                                        §
   Plaintiff,                                        §
                                                     §
v.                                                   §       CIVIL ACTION NO: 5:19-cv-00506
                                                     §        (consolidated with 5:18-cv-00555-XR)
                                                     §
UNITED STATES OF AMERICA,                            §
   Defendant.                                        §



                                    FINAL JUDGMENT

           Judgment is entered in accordance with the Findings of Fact & Conclu-

     sions of Law, in cause No. 5:18-cv-00555-XR (February 7, 2022) (ECF No. 584),

     by District Judge Xavier Rodriguez, and Plaintiffs shall recover from the

     United States in the amount of:

               1. $17,977,066.98 for Kris Workman.1

           Plaintiffs shall file their bill of costs with this Court within 10 days of en-

     try of this judgment, which are to be taxed against the United States.

           Post-judgment interest shall be awarded in accordance with 31 U.S.C.
     § 1304(b)(1). Such interest shall be calculated at a rate equal to the weekly

     average 1-year constant maturity Treasury yield, as published by the Board

     of Governors of the Federal Reserve System, for the calendar week preceding



     1   After reviewing trial testimony, the Court finds that inflation and interest offset
         each other, resulting in a net discount rate of 0%. Therefore, of this amount,
         $5,117,039.98 represents the present value of reasonable and necessary future
         medical expenses Kris Workman will incur, and $711,000.00 represents the pre-
         sent value of lost earning capacity Kris Workman will sustain in the future.

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the Judgment. 28 U.S.C. § 1961(a). For the week preceding this Judgment,

the rate is set at 1.66 percent.2

      Pursuant to 28 U.S.C. § 2678, attorney’s fees are limited to 25% of the

judgment, which the Court finds to be a reasonable and necessary fee in this

case.

      This final judgment disposes of all claims in the above-styled cause.

      It is so ORDERED.

      SIGNED this 5th day of April, 2022.




                                  XAVIER RODRIGUEZ
                                  UNITED STATES DISTRICT JUDGE




2   See https://www.federalreserve.gov/releases/h15/; accessed April 4, 2022, showing
    1-year Treasury constant maturities for March 25, 28-31, which average to 1.66%.

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